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 8                         IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                   No. CR S-02-0213-MCE-CMK
                                                     CIV S-06-2409-MCE-CMK
12                 Respondent,

13          vs.                                  FINDINGS AND RECOMMENDATIONS

14   GABRIEL ORTIZ-VILLALOBOS,

15                 Movant.

16                                       /

17                 Movant, a federal prisoner proceeding pro se, brings this motion to correct or set

18   aside a criminal judgment pursuant to 28 U.S.C. § 2255. Pending before the court are movant’s

19   § 2255 motion (Doc. 313 in the criminal docket), respondent’s answer (Doc. 317 in the criminal

20   docket), and movant’s traverse (Doc. 319 in the criminal docket).

21

22                                           I. BACKGROUND

23                 Movant was charged with the following in a seven-count grand jury indictment

24   returned on May 23, 2002: (1) Count 1 – conspiracy to manufacture methamphetamine; (2)

25   Count 2 – conspiracy to possess a listed chemical with knowledge, or having reasonable cause to

26   believe, that it would be used to manufacture methamphetamine; (3) Count 3 – possession of a

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 1   listed chemical with knowledge, or having reasonable cause to believe, that it would be used to

 2   manufacture methamphetamine; (4) Count 5 – using, carrying, and possessing a firearm during a

 3   drug trafficking offense; and (5) Count 7 – criminal forfeiture. Movant was not charged in

 4   Counts 4 or 6 of the indictment. On May 28, 2003, movant and co-defendants were convicted on

 5   all counts.1 Movant, along with co-defendants Munguia, Timoteo, and Estrada, were sentenced

 6   on August 12, 2003, to 180 months in federal prison.2 Movant’s conviction and sentence were

 7   affirmed on direct appeal in an unpublished decision issued on July 7, 2005. See United States v.

 8   Barrera-Medina, 139 Fed. Appx. 786 (9th Cir. 2005), cert. denied 546 U.S. 1201 (2006).

 9                  As part of its discussion of the Defendants’ claim associated with the Dodge

10   Intrepid that their warrantless arrest violated the Fourth Amendment, the Court of Appeals

11   recited the following facts:

12                  . . . First, following [a] May 9, 2002, meeting at which Detective Robles,
                    Manuel Valle, and Hernandez negotiated the purchase of pseudoephedrine
13                  pills, officers conducting surveillance followed Manuel Valle and
                    Hernandez to an apartment complex. Manuel Valle and Hernandez parked
14                  their Lincoln Navigator two to three parking spaces from a Chrysler
                    Concord and Dodge Intrepid, and then entered the apartment complex.
15                  The officers shortly thereafter observed five Hispanic men walking
                    together from one of the apartments, get into the Chrysler Concord and
16                  Dodge Intrepid, and leave the apartment complex. Thus, the following
                    day, when both the Lincoln Navigator and the Chrysler Concord were used
17                  by Manuel Valle, Barrera-Medina, and Hernandez in effecting the drug
                    buy, the officers had reason to believe that the occupants of the Dodge
18                  Intrepid – the Intrepid Defendants – were in some manner acquainted with
                    those who had negotiated and were effecting the drug buy. Second, given
19                  the manner in which the Dodge Intrepid was driven and its location before,
                    during, and immediately after the drug buy, the officers had reason to
20                  believe that the Intrepid Defendants were engaged in counter-surveillance
                    or security while Manuel Valle and Hernandez were purchasing the
21                  pseudoephedrine pills from Detective Robles. Third, the manner in which
                    the Dodge Intrepid followed the Lincoln Navigator and the Chrysler
22                  Concord after the drug buy provided further reason to believe that the
                    Intrepid Defendants were participants in the drug buy.
23
                    Id. at 791.
24

25          1
                    Count 7 was ultimately dismissed.
26          2
                    These four defendants were referred to at trial as the “Intrepid Defendants.”

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 1   The Court of Appeals recited the following additional facts concerning the Intrepid Defendants’

 2   connection to the conspiracy:

 3                  To begin, the Government introduced at trial, evidence . . . tending to
                    show that the Intrepid Defendants were conducting counter-surveillance or
 4                  security in connection with the drug buy. The Government also introduced
                    at trial evidence that the defendants used cell phones to make at least
 5                  sixteen calls amongst themselves in the less than four hours spanning the
                    period before, during, and after the drug buy, further suggesting that the
 6                  Intrepid Defendants were conducting counter-surveillance or security on
                    behalf of Manuel Valle, Barrera-Medina, and Hernandez. Finally, the
 7                  Government introduced into evidence a number of items found in the
                    Dodge Intrepid that a rational trier of fact could have found to be
 8                  instrumentalities of the crime: a handgun, a semi-automatic pistol, the
                    same type of plastic wrap that had been used to wrap the money that
 9                  Manuel Valle had used to purchase the pseudoephedrine pills from
                    Detective Robles, and a Day Planner that included a business card for the
10                  motel where the drug buy had occurred.

11                  Id. at 791-92.

12

13                                           II. DISCUSSION

14                  In his § 2255 motion, movant raises three claims: (1) the evidence was

15   insufficient to support convictions for conspiracy to manufacture methamphetamine; (2) the

16   sentence is too severe; and (3) ineffective assistance of counsel.

17          A.      Sufficiency of the Evidence

18                  Movant argues:

19                           In the instant case there is lack of evidence to support the
                    conspiracy charges to manufacture Methamphetamine as charged in the
20                  indictment. . . .
                             In order for a person to manufacture Methamphetamine it requires
21                  for this person to obtain a series of chemicals which are use to
                    manufacturing the Methamphetamine. And not just are these chemicals
22                  used for the manufacturing of the Methamphetamine, but these are used
                    for the manufacturing of the Methamphetamine byproducts as well.
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 1   Movant then lists 28 chemicals and 22 items of equipment required to manufacture

 2   methamphetamine. Movant continues:

 3                           In the instant case, the Defendant was not found in possession of
                    all the chemicals or all the equipment needed to manufacture
 4                  Methamphetamine and Methamphetamine byproducts. This being the
                    case, then how can somebody be charged with conspiracy to manufacture
 5                  methamphetamine when all the chemicals and equipment needed to do so
                    is not present?
 6

 7   Thus, movant’s argument is that the conspiracy convictions cannot stand because the evidence

 8   does not show that he was in possession of all the required chemicals and equipment.

 9                  The sufficiency of the evidence to support movant’s conspiracy convictions was

10   considered by the Ninth Circuit on direct appeal, which concluded that the evidence was

11   sufficient. See Barrera-Medina, 139 Fed. Appx. at 791-92. Specifically, the court concluded:

12                  Counts 1 and 2 charged the Intrepid Defendants . . . with conspiracy. . . .
                    [¶] Here, the Intrepid Defendants concede that the Government proved a
13                  conspiracy among Manuel Valle, Barrera-Medina, and Hernandez. Thus,
                    the Government was required to prove only that the Intrepid Defendants
14                  intentionally participated in the conspiracy, even if only in a “slight” way.
                    Viewing the evidence in the light most favorable to the Government, a
15                  rational trier of fact could have found beyond a reasonable doubt that the
                    Intrepid Defendants did so. The jury could have determined that the
16                  Intrepid Defendants were not merely present at the scene of the drug buy
                    and that their conduct was not as consistent with being innocent
17                  bystanders as it was with guilt.

18                  Id.

19   Because the Court of Appeals has already concluded that the evidence was sufficient to support

20   movant’s conspiracy convictions, the sufficiency of the evidence cannot be re-litigated in the

21   context of a § 2255 motion. See Odom v. United States, 455 F.2d 159, 160 (9th Cir. 1972);

22   United States v. Redd, 759 F.2d 699, 700-01 (9th Cir. 1985).

23                  Moreover, movant’s argument is simply not supported by the facts of this case and

24   the law of conspiracy. As the Ninth Circuit stated in its opinion on direct appeal:

25                  . . . Where the Government proves the existence of a conspiracy, it need
                    only prove a “slight” connection between the conspiracy and the
26                  defendants to convict the defendants of conspiracy. United States v.

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 1                  Aichele, 941 F.2d 761, 763 (9th Cir. 1991). The term “connection” in this
                    context – “slight” or otherwise – means intentional participation in the
 2                  conspiracy. United States v. Herrera-Gonzalez, 263 F.3d 1092, 1097-98
                    (9th Cir. 2001). The modifier “slight” means that “a defendant need not
 3                  have known all the conspirators, participated in the conspiracy from its
                    beginning, participated in all its enterprises, or known all its details.” Id.
 4                  at 1095.

 5                  Barrera-Medina, 139 Fed. Appx. at 791.

 6   In this case, it is irrelevant whether movant was in possession of all the chemicals and equipment

 7   required to manufacture methamphetamine to establish that he had at least a slight connection

 8   with the admitted conspiracy.

 9          B.      Severity of Sentence

10                  Movant argues:

11                          The issue presented by this case is whether unusually harsh
                    collateral consequences that are visited by law on a defendant as a result of
12                  his conviction may provide a basis for mitigating the penal sanction that
                    would otherwise be required. . . .
13                          Collateral consequences are not part of the judgment of conviction
                    and are not imposed upon the defendant for the purpose of punishing him.
14                          The effect of such consequences, however, may be as punitive as a
                    term of incarceration. This is particular true here where the collateral
15                  consequence is deportation and where a consequence of that . . . is a longer
                    period of imprisonment under more severe conditions than would apply to
16                  a United States citizen convicted of the same offense.

17   Movant concludes that, because he is an alien who has twice been convicted of crimes involving

18   moral turpitude, he faces the harsh consequence of removal from the United States following

19   completion of his 180-month sentence. He also argues that, because he is a criminal alien, he is

20   facing harsher conditions of confinement because he is not eligible to serve his sentence at a

21   minimum security facility.

22                  The court agrees with respondent that these arguments are not cognizable in the

23   context of a § 2255 motion. Movant’s claims regarding execution of his sentence must be raised

24   by way of a habeas corpus petition under 28 U.S.C. § 2241. See Brown v. United States, 610

25   F.2d 672, 677 (9th Cir. 1990).

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 1           C.      Ineffective Assistance of Counsel

 2                   The Sixth Amendment guarantees the effective assistance of counsel. The United

 3   States Supreme Court set forth the test for demonstrating ineffective assistance of counsel in

 4   Strickland v. Washington, 466 U.S. 668 (1984). First, the movant must show that, considering

 5   all the circumstances, counsel’s performance fell below an objective standard of reasonableness.

 6   See id. at 688. To this end, the movant must identify the acts or omissions that are alleged not to

 7   have been the result of reasonable professional judgment. See id. at 690. The federal court must

 8   then determine whether, in light of all the circumstances, the identified acts or omissions were

 9   outside the wide range of professional competent assistance. See id. In making this

10   determination, however, there is a strong presumption “that counsel’s conduct was within the

11   wide range of reasonable assistance, and that he exercised acceptable professional judgment in all

12   significant decisions made.” Hughes v. Borg, 898 F.2d 695, 702 (9th Cir. 1990) (citing

13   Strickland, 466 U.S. at 689).

14                   Second, the movant must affirmatively prove prejudice. See Strickland, 466 U.S.

15   at 693. Prejudice is found where “there is a reasonable probability that, but for counsel’s

16   unprofessional errors, the result of the proceeding would have been different.” Id. at 694. A

17   reasonable probability is “a probability sufficient to undermine confidence in the outcome.” Id.;

18   see also Laboa v. Calderon, 224 F.3d 972, 981 (9th Cir. 2000). A reviewing court “need not

19   determine whether counsel’s performance was deficient before examining the prejudice suffered

20   by the defendant as a result of the alleged deficiencies . . . If it is easier to dispose of an

21   ineffectiveness claim on the ground of lack of sufficient prejudice . . . that course should be

22   followed.” Pizzuto v. Arave, 280 F.3d 949, 955 (9th Cir. 2002) (quoting Strickland, 466 U.S. at

23   697).

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 1                  Movant argues that his trial counsel was ineffective in three ways:

 2                          First, the Defendant’s counsel did not challenge the issues that the
                    Defendant is raising here in this appeal, at trial, namely that the Defendant
 3                  should have been tried for attempted robbery, or conspiracy to attempt
                    robbery. The evidence in this case supports this fact. However, the
 4                  Defendant’s counsel failed to attack this fact at trial.
                            Second, it is clear that Ephedrine/pseudoephedrine is not a listed
 5                  chemical under 21 U.S.C. § 841(c)(2) something that the counsel in this
                    case did not attack at trial as well.
 6                          Third, the Defendant in this case did not use, carry, and possess a
                    firearm. The firearms in this case were found in a car which did not belong
 7                  to the Defendant, these firearms were stored under the seat of the car or
                    trunk, the Defendant did not own any of the firearms, the Defendant did not
 8                  handle any of the firearms.

 9   The court agrees with respondent that, based on the overwhelming evidence in this case, movant

10   cannot meet his burden of showing that, but for counsel’s alleged deficient representation, the

11   result would have been any different. As to movant’s contention that counsel should have argued

12   that movant was only guilty of robbery, that argument was made by one of the other Intrepid

13   Defendants and rejected by the jury. Thus, it would not have made any difference to the outcome

14   as to this movant. As to the argument that counsel failed to argue that pseudoephedrine is not a

15   listed chemical, that would have made no difference because, contrary to movant’s assertion, that

16   chemical is listed at 21 U.S.C. § 802(34). Finally, movant’s counsel did in fact argue that movant

17   should not be convicted of the firearm offense.

18

19                                         III. CONCLUSION

20                  Based on the foregoing, the undersigned recommends that:

21                  1.     Movant’s motion pursuant to 28 U.S.C. § 2255 (Doc. 313 in the criminal

22   docket) be denied; and

23                  2.     The Clerk of the Court be directed to close companion civil case no. CIV S-

24   06-2409-MCE-CMK.

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 1                  These findings and recommendations are submitted to the United States District

 2   Judge assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within 20 days

 3   after being served with these findings and recommendations, any party may file written objections

 4   with the court. The document should be captioned “Objections to Magistrate Judge's Findings

 5   and Recommendations.” Failure to file objections within the specified time may waive the right

 6   to appeal the District Court's order. Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).

 7

 8   DATED: September 17, 2007.

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                                                    ______________________________________
10                                                  CRAIG M. KELLISON
                                                    UNITED STATES MAGISTRATE JUDGE
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